         Case 1:19-cv-01974-TNM Document 105 Filed 03/03/21 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                     JOINT STATUS REPORT

       Pursuant to the Court’s February 3, 2021, Minute Order, the parties respectfully submit

the following joint status report.

       Position of the Defendants

       Incoming leadership at the Department of the Treasury and the Department of Justice

have been evaluating and discussing Defendants’ position in this case. Because the transition to

new leadership at both agencies is still ongoing, Defendants require additional time to complete

this process.

       It is therefore Defendants’ view at this time that the parties should file a further status

report on April 2, 2021. Defendants would not object in the meantime to a corresponding

extension of the Court’s January 22 and February 3 Minute Orders requiring 72 hours’ notice to

counsel for the Defendant-Intervenors before any release of the Defendant-Intervenors’ tax-

return information to the Committee.
         Case 1:19-cv-01974-TNM Document 105 Filed 03/03/21 Page 2 of 4




       Position of the Plaintiff

       As the Committee explained during the January 22 status conference (Tr. 4-5), the

Committee’s request under 26 U.S.C. § 6103(f)(1) that Defendants furnish it with tax “return

[and] return information” of former President Trump remains outstanding. Defendants have not

yet complied with their legal obligation to furnish this information to the Committee, which

continues to need former President Trump’s tax returns and return information to further its

ongoing investigation into Internal Revenue Service administration and policy. The Committee

seeks expeditious resolution of this litigation.

         The Court noted at the status conference that how this case should proceed will depend

on “what the Treasury intends to do; what position it intends to take on some of the issues.” Tr.

18. On February 3, 2021, this Court granted Defendants’ request for twenty-eight days to file the

next joint status report. As Defendants have indicated above, they still have not taken a position

on whether they intend to comply with the Committee’s pending Section 6103(f)(1) request.

Any further provision of time to Defendants should be limited, given how long the Committee’s

request has been stymied.

       Position of the Intervenor-Defendants

       The Intervenor-Defendants agree with the Defendants’ approach.

Dated: March 3, 2021

                                                   Respectfully submitted,

                                                   MICHAEL D. GRANSTON
                                                   Deputy Assistant Attorney General

                                                   JOHN R. GRIFFITHS
                                                   Director

                                                   ELIZABETH J. SHAPIRO
                                                   Deputy Director
                                                   2
Case 1:19-cv-01974-TNM Document 105 Filed 03/03/21 Page 3 of 4




                               /s/ James J. Gilligan
                              JAMES J. GILLIGAN
                              Special Litigation Counsel

                              SERENA M. ORLOFF
                              STEVEN A. MYERS
                              CRISTEN C. HANDLEY
                              Attorneys
                              U.S. Department of Justice
                              Civil Division, Federal Programs Branch
                              P.O. Box 883
                              Washington, D.C. 20044

                              Telephone:    (202) 514-3358
                              Fax:          (202) 616-8470
                              E-mail:       james.gilligan@usdoj.gov

                              Counsel for Defendants



                               /s/ Douglas N. Letter
                              Douglas N. Letter (DC Bar No. 253492)
                                General Counsel
                              Todd B. Tatelman (VA Bar No. 66008)
                              Megan Barbero (MA Bar No. 668854)

                              OFFICE OF GENERAL COUNSEL
                              U.S. HOUSE OF REPRESENTATIVES
                              5140 O’Neill House Office Building
                              Washington, D.C. 20515
                              Telephone: (202) 225-9700
                              douglas.letter@mail.house.gov

                              Counsel for Plaintiff Committee on Ways and
                              Means, U.S. House of Representatives



                               /s/ William S. Consovoy
                              William S. Consovoy (D.C. Bar #493423)
                              Cameron T. Norris
                              CONSOVOY MCCARTHY PLLC
                              1600 Wilson Boulevard, Suite 700
                              Arlington, VA 22209
                              (703) 243-9423
                              will@consovoymccarthy.com
                              cam@consovoymccarthy.com
                              3
Case 1:19-cv-01974-TNM Document 105 Filed 03/03/21 Page 4 of 4




                              Patrick Strawbridge (pro hac vice)
                              CONSOVOY MCCARTHY PLLC
                              Ten Post Office Square, 8th Floor
                              South PMB #706
                              Boston, MA 02109
                              (617) 227-0548
                              patrick@consovoymccarthy.com

                              Counsel for Intervenor-Defendants Donald J.
                              Trump, The Donald J. Trump Revocable Trust,
                              DJT Holdings LLC, DJT Holdings Managing
                              Member LLC, DTTM Operations LLC, DTTM
                              Operations Managing Member Corp, LFB
                              Acquisition Member Corp., LFB Acquisition
                              LLC, and Lamington Farm Club, LLC d/b/a
                              Trump National Golf Club-Bedminster




                              4
